            Case 3:25-cv-04870-CRB            Document 95      Filed 06/23/25   Page 1 of 7




 1   BRETT A. SHUMATE
     Assistant Attorney General
 2   ERIC J. HAMILTON (CA Bar No. 296283)
     Deputy Assistant Attorney General
 3   ALEXANDER K. HAAS (CA Bar No. 220932)
 4   Branch Director
     JEAN LIN (NY Bar No. 4074530)
 5   Special Litigation Counsel
     CHRISTOPHER EDELMAN (DC Bar No. 1033486)
 6   Senior Counsel
     GARRY D. HARTLIEB (IL Bar No. 6322571)
 7   BENJAMIN S. KURLAND (DC Bar No. 1617521
     Trial Attorneys
 8   U.S. Department of Justice
     Civil Division, Federal Programs Branch
 9   1100 L Street, NW
     Washington, DC 20005
10   Telephone: (202) 305-0568
     garry.hartlieb@usdoj.gov
11   Attorneys for Defendants
12                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION
14                                                        Case No. 3:25-cv-04870-CRB
15   GAVIN NEWSOM, in his official capacity as
     Governor of the State of California, et al.,
16                                                        DEFENDANTS’ SUPPLEMENTAL BRIEF
                                Plaintiffs,               IN OPPOSITION TO PLAINTIFFS’
17                                                        MOTION FOR A PRELIMINARY
                     v.                                   INJUNCTION
18
     DONALD J. TRUMP, in his official capacity as
19   President of the United States of America, et al.,
20                               Defendants.
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     Defendants’ Supplemental Brief in Opp’n to PI Mot.
     3:25-cv-04870-CRB
            Case 3:25-cv-04870-CRB            Document 95        Filed 06/23/25      Page 2 of 7




 1          At the hearing on June 20, 2025, this Court directed “the parties to submit briefs by noon
 2   on Monday, June 23rd, 2025, addressing whether this Court or the Ninth Circuit retains primary
 3   jurisdiction to modify or grant an injunction under the Posse Comitatus Act.” June 20, 2025
 4   Hearing Transcript (“Tr.”) at 5:14-17. In addition, the Court permitted the parties to address the
 5   duration of the federalization order, which was first raised in Plaintiffs’ reply brief in support of
 6   their motion for a preliminary injunction. Accordingly, Defendants address both topics here.
 7          1. The jurisdictional question is largely a moot point because the Ninth Circuit’s stay
 8   decision logically forecloses Plaintiffs’ Posse Comitatus Act (“PCA”) claim. The Ninth Circuit
 9   held that the President “likely acted within his authority in federalizing the National Guard under
10   10 U.S.C. § 12406(3).” Newsom et al. v. Trump et al., --- F.4th ----, 2025 WL 1712930, at *12
11   (9th Cir. 2025). Section 12406(3) allows the President to federalize the Guard where he “is unable
12   with the regular forces to execute the laws of the United States.” 10 U.S.C. § 12406(3) (emphasis
13   added). The PCA makes it a federal crime to “willfully use[] [certain military service members]
14   as a posse comitatus or otherwise to execute the laws,” except “in cases and circumstances
15   expressly authorized by the Constitution or Act of Congress.” 18 U.S.C. § 1385 (emphasis added).
16   If, as Plaintiffs appear to argue, see ECF No. 77 at 20, Section 12406 is not statutory authorization
17   for PCA purposes, its subsection (3) would somehow not allow the President to use Guardsmen to
18   execute the laws. That absurdity is belied by the statute’s authorization of the President to
19   federalize Guardsmen “in such numbers as he considers necessary to . . . execute those laws.” Id.
20   § 12406 (emphasis added). Given the Ninth Circuit’s finding, it would be illogical to hold that,
21   although the President can call up the National Guard when he is unable “with the regular forces
22   to execute the laws of the United States,” the Guard, once federalized, is forbidden from
23   “execut[ing] the laws.” 10 U.S.C. § 12406(3); 18 U.S.C. § 1385.
24          In any event, here the Guard is merely performing a protective function, safeguarding
25   federal officials and property, not executing federal laws. Indeed, this Court already recognized
26   that the President’s Memorandum and DoD memoranda “do not direct the federalized National
27   Guard members to undertake activities that would violate the [PCA].” TRO Op. at 28. Nothing
28   in the preliminary injunction record plausibly supports a claim that the Guard and Marines are


     Defendants’ Supplemental Brief in Opp’n to PI Mot.
     3:25-cv-04870-CRB
                                                 1
            Case 3:25-cv-04870-CRB            Document 95        Filed 06/23/25      Page 3 of 7




 1   engaged in execution of federal laws rather than efforts to protect the personnel and property used
 2   in the execution of federal laws. The Declaration of Major General Scott M. Sherman explains in
 3   detail the purely protective functions being performed by the Guard and Marines, ECF No. 84-3,
 4   Sherman Decl. ¶ 9(A)–(D), and protection of federal officials and property does not constitute
 5   enforcement of the laws for PCA purposes, ECF No. 84 at 24-25.
 6          Even if Plaintiffs could establish a likelihood of success on their PCA claim, the Ninth
 7   Circuit’s analysis of the remaining factors for interim equitable relief would foreclose a
 8   preliminary injunction on that claim. In addition to finding that Defendants were likely to succeed
 9   on their Section 12406 arguments, the Ninth Circuit held that “irreparable harm to Defendants,
10   injury to Plaintiffs, and the public interest [factors]—weigh in Defendants’ favor.” Newsom, 2025
11   WL 1712930, at *2. Because this Court could not reach a contrary conclusion on the balance of
12   the equities, Plaintiffs’ request for a preliminary injunction on their PCA claim necessarily fails.
13          Yet even if the Court were inclined to modify or grant an injunction under the PCA, the
14   law is clear that the Court lacks jurisdiction to modify or expand its June 12 Order, ECF No. 64,
15   which the Ninth Circuit has stayed pending appeal. That is because “[t]he filing of a notice of
16   appeal . . . divests the district court of its control over those aspects of the case involved in the
17   appeal.” Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982); see also Townley
18   v. Miller, 693 F.3d 1041, 1042 (9th Cir. 2012) (filing of a notice of appeal generally divests the
19   court of jurisdiction over the matters appealed). However, the Court likely retains jurisdiction to
20   address Plaintiffs’ PCA arguments because the Court declined to consider those arguments in its
21   previous order, TRO Op. at 29, and an injunction on Plaintiffs’ PCA claim would have a different
22   scope than the stayed order. 1
23          2. Plaintiffs also requested that “the Court . . . address the duration of the order and the
24   parameters for when the order should conclude.” Tr at 8:25–9:5. This issue does not warrant
25   injunctive relief for at least three reasons.
26
     1 In particular, even if the Ninth Circuit’s decision did not foreclose injunctive relief here (which
27
     it does), the scope of an injunction based on the PCA claim would necessarily be different, since
28   Plaintiffs’ PCA claim does not logically challenge the federalization of the National Guard itself
     but instead challenges what Plaintiffs allege the Guard is doing.

     Defendants’ Supplemental Brief in Opp’n to PI Mot.
     3:25-cv-04870-CRB
                                                 2
            Case 3:25-cv-04870-CRB            Document 95        Filed 06/23/25      Page 4 of 7




 1          First, any challenge to the duration or parameters of the federalization order is forfeited.
 2   Plaintiffs’ brief in support of their preliminary-injunction motion, while referencing the 60-day
 3   timeline, ECF No. 77 at 4, 28, contains no challenge to the federalization order’s duration or
 4   parameters. Only in their reply brief did Plaintiffs for the first time challenge the order’s supposed
 5   lack of temporal or geographic limits. ECF No. 87 at 7-8. “[I]ssues raised for the first time in the
 6   reply brief are waived.” Bazuaye v. I.N.S., 79 F.3d 118, 120 (9th Cir. 1996); Nevada v. Watkins,
 7   914 F.2d 1545, 1560 (9th Cir. 1990) (“[Parties] cannot raise a new issue for the first time in their
 8   reply briefs.”). Even then, Plaintiffs’ reply does not request any particular relief related to their
 9   overbreadth argument. And to the extent Plaintiffs’ supplemental brief filed today addresses “the
10   parameters for when the order should conclude,” that will be the first time Defendants are made
11   aware of their arguments. This issue therefore is not properly before the Court.
12          Second, Plaintiffs have not cited any legal authority that could conceivably allow “the
13   Court to address the duration of the order and the parameters for when the order should conclude.”
14   Tr. 8:25–9:2. The only legal authority Plaintiffs’ reply brief cited is a plainly inapplicable First
15   Amendment case that does not address any geographic or durational limits on governmental action.
16   ECF No. 87 at 8 (quoting Garrison v. State of La., 379 U.S. 64, 75 (1964)). And tellingly, the
17   argument in Plaintiffs’ reply cited no statute—Section 12406 or otherwise—in support of their
18   argument. Indeed, while Section 12406 provides the process through which the National Guard
19   becomes federalized, it imposes no durational limits on the President’s exercises of his
20   Commander-in-Chief power over a properly federalized Guard.
21          And even if Section 12406 could be read to imply limits on the duration and scope of the
22   President’s deployment of the National Guard, review of those issues would be subject to the same
23   “especially deferential” framework, Newsom v. Trump, 2025 WL 1712930, at *7, applicable to the
24   President’s decision to invoke Section 12406 in the first place. After all, the statute permits the
25   President to federalize Guardsmen “in such numbers as he considers necessary to repel the
26   invasion, suppress the rebellion, or execute those laws.” 10 U.S.C. § 12406. In any event, the
27   President’s decision that the duration of duty “shall be for 60 days or at the discretion of the
28   Secretary of Defense” to shorten or extend the duration is appropriate, particularly given the scale


     Defendants’ Supplemental Brief in Opp’n to PI Mot.
     3:25-cv-04870-CRB
                                                 3
            Case 3:25-cv-04870-CRB           Document 95        Filed 06/23/25      Page 5 of 7




 1   and intensity of the previous violence and obstruction in Los Angeles and the need for the Secretary
 2   of Defense to flexibly respond to the evolving situation on the ground.
 3          Finally, any challenge to the duration of the Guard and Marines’ deployment is premature.
 4   In their reply, Plaintiffs complained that “Defendants’ opposition makes clear they have no
 5   intention of withdrawing troops from Los Angeles in 60 days or any time soon thereafter.” ECF
 6   No. 87 at 8.     Defendants have not in fact taken this position. Although the Presidential
 7   Memorandum gives the Secretary of Defense discretion to extend the mission beyond 60 days,
 8   Secretary Hegseth’s two memoranda on June 7 and 9, respectively, limit the deployment to 60
 9   days from those dates. ECF No. 8-1, Exs. O-P. There is no basis now to challenge the
10   determination to initially set a 60-day timeframe on the duration of the deployment, particularly
11   when the initial 60-day timeframe has not yet elapsed and the actual duration is unknown at
12   present.
13          Moreover, the undisputed factual record confirms a continued need for the mission, which
14   is to “provid[e] protection of federal personnel, property, and functions.” Declaration of Ernesto
15   Santacruz, Jr. (“Santacruz Decl.”), ECF No. 84-1, at ¶ 3. Plaintiffs’ and Defendants’ declarants
16   agree that violence against federal personnel persisted into the weekend preceding Plaintiffs’
17   motion for a preliminary injunction. Declaration of Sean Duryee, ECF No. 87-3, at ¶ 8 (“On June
18   14, 2025, . . . [s]ome protestors assaulted the officers and soldiers by throwing items and spitting
19   on them.”); Santacruz Decl. at ¶ 6 (“[O]n June 14, 2025, . . . violent opportunists in the crowd of
20   over 1,000 people began assaulting law enforcement officers with rocks, bricks, bottles, fireworks,
21   and other objects.”). In addition, the Department of Homeland Security has confirmed that
22   “[b]ecause of the current threat, [the Department] would not be able to carry out as many
23   immigration enforcement operations as we have been able to with the Guards’ assistance.”
24   Santacruz Decl. at ¶ 12.
25          Notwithstanding the “exceptionally deferential” review to the President’s decision under
26   Section 12406, as well as continuing violence against federal personnel, Plaintiffs appear to seek
27   to cabin where and for how long the National Guard can protect federal personnel who are
28   executing immigration laws. The sole fact that Plaintiffs offer in making this argument is that “the


     Defendants’ Supplemental Brief in Opp’n to PI Mot.
     3:25-cv-04870-CRB
                                                 4
            Case 3:25-cv-04870-CRB          Document 95        Filed 06/23/25      Page 6 of 7




 1   National Guard deployed to the Coachella Valley to assist with a raid of a marijuana farm.” PI
 2   Reply at 7. But that operation was in the same vein of other uses of service members to provide
 3   protection for immigration enforcement. Plaintiffs omit that their own sources report that federal
 4   officials “anticipat[ed] there being some undocumented workers on scene.” ECF No. 87-1, at 65.
 5   “[I]llegal farms often come with illegal labor.” Id. For “many illegal grow operations, employing
 6   those with undocumented U.S. legal status is . . . rampant.” Id. As expected, the illegal farms
 7   “included the employment of illegal immigrants.” Id. at 66. “Preliminary numbers show 70-75
 8   illegal immigrants were detained in the operation.” ECF No. 87-1, at 66. In short, Plaintiffs give
 9   no persuasive factual or legal reason to question Defendants’ continued use of military
10   servicemembers, without which the “immigration enforcement mission would be greatly
11   impacted.” Santacruz Decl. ¶ 12.
12
     Dated: June 23, 2025                                Respectfully submitted,
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14                                                       BRETT A. SHUMATE
                                                         Assistant Attorney General
15                                                       Civil Division
16
                                                         ERIC J. HAMILTON
17                                                       Deputy Assistant Attorney General
                                                         Federal Programs Branch
18                                                       (CA Bar No. 296283)
19
                                                         ALEXANDER K. HAAS
20                                                       (CA Bar No. 220932)
                                                         Director, Federal Programs Branch
21
22                                                       JEAN LIN
                                                         (NY Bar No. 4074530)
23                                                       Special Litigation Counsel
                                                         Federal Programs Branch
24
25
                                                         /s/ Garry D. Hartlieb
26
                                                         CHRISTOPHER EDELMAN
27                                                       (DC Bar No. 1033486)
                                                         Senior Counsel
28                                                       GARRY D. HARTLIEB


     Defendants’ Supplemental Brief in Opp’n to PI Mot.
     3:25-cv-04870-CRB
                                                 5
           Case 3:25-cv-04870-CRB        Document 95      Filed 06/23/25   Page 7 of 7




                                                     (IL Bar No. 6322571)
 1                                                   BENJAMIN S. KURLAND
 2                                                   (DC Bar No. 1617521)
                                                     Trial Attorneys
 3                                                   U.S. Department of Justice
                                                     Civil Division, Federal Programs Branch
 4
                                                     1100 L Street, N.W.
 5                                                   Washington, DC 20005
                                                     Tel.: 202-305-0568
 6                                                   Email: garry.hartlieb@usdoj.gov
 7
                                                     Attorneys for Defendants
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     Defendants’ Supplemental Brief in Opp’n to PI Mot.
     3:25-cv-04870-CRB
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